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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.    04-40141-01
                                             )
ARLAN DEAN KAUFMAN,                          )
                                             )
                         Defendant.          )
                                             )

                              MEMORANDUM AND ORDER
        Before the court are defendant’s submissions pursuant to 28
U.S.C. § 2255 and the government’s responses: Docs. 591, 603, 606,
606, 607, 608, 609, 610, 612, 614 and 615.
                          Applicable Legal Standards
        The purpose of a motion made pursuant to 28 U.S.C. § 2255 is to
correct errors of constitutional dimension or fundamental errors which
result in a complete miscarriage of justice.                Brown v. United States,
34 F.3d 990, 991 (10th Cir. 1994).                   When, as here, a motion is
predicated on claims of ineffective assistance of counsel, a defendant
has a high hurdle to overcome:
        “The essence of an ineffective-assistance claim is that
        counsel's unprofessional errors so upset the adversarial
        balance between defense and prosecution that the trial was
        rendered unfair and the verdict rendered suspect.”
        Williamson [v. Ward], 110 F.3d 1508, 1513-14 (quoting
        Kimmelman v. Morrison, 477 U.S. 365, 374, 106 S.Ct. 2574,
        91 L.Ed.2d 305 (1986)). As the Supreme Court established
        in Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052,
        80 L.Ed.2d 674 (1984), to succeed on this claim, [a
        defendant] must show that counsel's performance fell below
        an objective standard of reasonableness and that he was
        prejudiced thereby, which means that he must show a
        reasonable probability that the outcome of the trial would
        have been more favorable to him, absent the errors of trial
        counsel. See, e.g., Foster v. Ward, 182 F.3d 1177, 1184
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        (10th Cir. 1999). In evaluating claims of this nature, we
        “must indulge a strong presumption that counsel's conduct
        falls within the wide range of reasonable professional
        assistance; that is, the defendant must overcome the
        presumption that, under the circumstances, the challenged
        action ‘might be considered sound trial strategy.’”
        Strickland, 466 U.S. at 689, 104 S.Ct. 2052.
United States v. Holder, 410 F.3d 651, 654 (10th Cir. 2005), aff’d
after remand, No. 06-7071, 2007 WL 2753055 (10th Cir. Sept. 19, 2007).
        The two-part burden which a defendant must meet in order to
prevail on an ineffective assistance of counsel claim was summarized
in United States v. Chavez-Marquez, 66 F.3d 259 (10th Cir. 1995):
        To prevail on this claim, defendant must meet the two-prong
        test set forth in Strickland v. Washington, 466 U.S. 668,
        104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984). First, defendant
        “must show that counsel’s representation fell below an
        objective standard of reasonableness.” Id. at 688, 104 S.
        Ct. at 2064; see also Romero v. Tansy, 46 F.3d 1024, 1029
        (10th Cir.), cert. denied, [515] U.S. [1148], 115 S. Ct.
        2591, 132 L.Ed.2d 839 (1995).     Under the second prong,
        defendant must show “that there is a reasonable probability
        that, but for counsel’s unprofessional errors, the result
        of the proceedings would have been different.” Strickland,
        466 U.S. at 694, 104 S. Ct. at 2068; see also Hatch v.
        Oklahoma, 58 F.3d 1447, 1457 (10th Cir. 1995).
Id. at 262.       The failure to make the required showing of either
deficient       performance      or   sufficient      prejudice       defeats    the
ineffectiveness claim. See Strickland, 466 U.S. at 700, 104 S. Ct. at
2071.    “The Supreme Court has observed that often it may be easier to
dispose of an ineffectiveness claim for lack of prejudice than to
determine whether the alleged errors were legally deficient.” United
States v. Haddock, 12 F.3d 950, 955 (10th Cir. 1993).                 A defendant’s
proof    must   overcome   the    “strong     presumption”     that    counsel   was
effective. Id.        Strategic choices of attorneys are given great
deference and a court will not question tactical decisions of trial
counsel.     Trial strategies necessarily evolve without the benefit of

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hindsight.          A    high   level     of    deference       is    afforded      to      the
reasonableness          of   counsel’s    performance         in     light    of    all     the
circumstances at the time.              See United States v. Dean, 76 F.3d 329,
334 (10th Cir. 1996); see also Williamson v. Ward, 110 F.3d 1508,
1513-14 (10th Cir. 1997).           The bottom line is that a defendant who
claims     his    lawyer’s      performance         was   deficient      must      show     the
performance was “completely unreasonable, not merely wrong.”                              Hooks
v. Workman, 606 F.3d 715, 723 (10th Cir. 2010) (citing Boyd v. Ward,
179 F.3d 904, 914 (10th Cir. 1999), cert. denied, 528 U.S. 1167
(2000)).
     The    standard         required    to    prove      ineffective        assistance      of
appellate counsel is, if anything, more strict than for trial counsel.
As the court observed in Upchurch v. Bruce, 333 F.3d 1158, 1163 (10th
Cir. 2003), cert. denied, 540 U.S. 1050 (2003):
          Claims of appellate-counsel ineffectiveness are often
     based on counsel's failure to raise a particular issue on
     appeal. Appellate counsel who files a merits brief need not
     (and should not) raise every nonfrivolous claim, but rather
     may select from among them in order to maximize the
     likelihood of success on appeal. Although it is possible
     to bring a Strickland claim based on counsel's failure to
     raise a particular issue, it is difficult to demonstrate
     that counsel was incompetent.
(Internal citations and quotations omitted).                    Indeed, the process of
winnowing out weaker arguments on appeal and focusing on those more
likely to prevail, far from being evidence of incompetence, is the
hallmark of effective appellate advocacy. United States v. Challoner,
583 F.3d 745, 749 (10th Cir. 2009) (internal citations and quotations
omitted).        Obviously, appellate counsel cannot be found ineffective
for failing to raise claims which the record demonstrates have no
merit.   See Parker v. Champion, 148 F.3d 1219, 1221 (10th Cir. 1998),

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cert. denied, 525 U.S. 1151 (1999) (citing United States v. Cook, 45
F.3d 388 (10th Cir. 1995)).          Appellate counsel will be deemed
ineffective only if he fails to assert a “dead-bang winner,” i.e., “an
issue which was obvious from the trial record . . . and one which
would have resulted in a reversal on appeal.”          Cook, 45 F.3d at 395.
See also Moore v. Gibson, 195 F.3d 1152, 1180 (10th Cir. 1999), cert.
denied, 530 U.S. 1208 (2000).
     The following quotation is especially applicable in view of the
nature and number of claims of ineffective assistance of leveled by
defendant’s current lawyers at his trial and appellate counsel:
     It is not the critic who counts; not the man who points out
     how the strong man stumbles, or where the doer of deeds
     could have done them better. The credit belongs to the man
     who is actually in the arena, whose face is marred by dust
     and sweat and blood; who strives valiantly; who errs, who
     comes short again and again, because there is no effort
     without error and shortcoming; but who does actually strive
     to do the deeds; who knows great enthusiasms, the great
     devotions; who spends himself in a worthy cause; who at the
     best knows in the end the triumph of high achievement, and
     who at the worst, if he fails, at least fails while daring
     greatly, so that his place shall never be with those cold
     and timid souls who neither know victory nor defeat.
(From Citizenship in a Republic, a speech given in 1910 by President
Theodore Roosevelt).
                                 Background
     Someone looking for a shortcut to what this case was about
undoubtedly will read the Tenth Circuit’s opinion: United States v.
Kaufman, 546 F.3d 1242 (10th Cir. 2008), cert. denied, Kaufman v.
United States, 130 S. Ct. 1013 (2009).        The opinion describes some of
the deplorable conditions at Kaufman House, the facilities where the
“residents” lived and where defendant and his wife practiced their
cruel and illegitimate “therapy” methods.        It also recounts some, but

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not    all,    of   the     serious    mental    and   emotional       problems    of   the
residents, several of whom suffered from schizophrenia, a condition
described by no less distinguished mental health professional, Walter
Menninger, M.D. as “the cancer of mental illness.”                           But what the
opinion does not do, and in truth can never do, is adequately depict
the way several of the residents described their “treatment” by
defendant and his wife; their apprehension and fear, even in the safe
confines of a courthouse.                 No written opinion can portray the
arrogant, evil, non-repentant persona displayed by sex-pervert Arlan
Kaufman.      It was these and other problems, with which trial counsel
were faced.
       Who    are     the    counsel   whose    performance       is   now    so   roundly
criticized by lawyers who attended not one minute of any proceedings
in    this    court    and    who   did   not   represent    defendant        on   appeal?
Throughout the pretrial and trial proceedings, defendant and his wife
were represented by retained, seasoned defense counsel who have earned
well-deserved reputations as effective advocates in both state and
federal courts in a wide variety of cases.                  Arlan Kaufman’s counsel
previously had represented Kaufman in a case which ultimately came
before the Kansas Supreme Court: Kaufman v. Kansas Department of SRS,
248 Kan. 951, 811 P.2d 876 (1991).                It is hard to imagine how both
defendants could have been represented by more experienced, competent
counsel. Each defendant effectively benefitted from the representation
of two counsel because their defenses did not conflict in any way.
Arlan Kaufman’s appellate counsel, whose conduct is also criticized,
has been a federal public defender since 1995 who regularly appears
in the Tenth Circuit.

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                                  Case Statistics
     In    addition    to   the   Tenth    Circuit’s       opinion,   a   statistical
description of the case may be helpful: there were several pretrial
hearings and rulings; 1½ days of jury selection augmented by juror
questionnaires,       24    in-court      trial     days     (not     counting     jury
deliberation); testimony by 37 witnesses, both lay and expert, for the
government and defendants; admission of 415 exhibits, many of which
consisted of multiple pages; more than 3,700 pages of transcript and
upwards of 600 docket entries.
          Claims of Ineffective Representation by Trial Counsel
                      Change of Venue and Jury Selection
     Defendant asserts that the charges “ignited a media frenzy” and
that his counsel was ineffective for not seeking a change of venue out
of Wichita and then for not “adequately questioning” proposed jurors.
     There was news coverage of the charges and the trial but there
was no “media frenzy.”            The relatively few news articles which
appeared in the 4-month period prior to trial would not have caused
this court to change venue had a Rule 21 motion been made.                      None of
the cases cited by defendant are remotely similar to this case.                    See,
e.g., Stafford v. Saffle, 34 F.3d 1557, 1566 (10th Cir. 1994), cert.
denied, 514 U.S. 1099 (1995).             Defendant does not suggest a trial
location where pretrial and trial publicity would not have occurred
nor does he consider that a transfer based on adverse publicity in one
location likely may encourage additional publicity in the new location
and at a time closer to trial.
     Jurors called to serve in Wichita are drawn from 11 counties (D.
Kan. Rule 38.1(a)(2)).       Because of the 4-5 week anticipated length of

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the trial, the clerk sent a letter to prospective jurors soliciting
information regarding their ability to serve.                   Several   prospective
jurors were excused based on their responses to the letter but 69
reported for jury duty.       Each juror completed a questionnaire (Ex. A)
which counsel used during jury selection.              In addition, counsel were
allowed   to     examine   the    jurors    (Fed.    R.   Crim.     P.    24)    and   no
restrictions were placed on counsel’s questioning regarding exposure
to pretrial publicity and ability to be fair and impartial.                      The law
does not presume that jurors were exposed to pretrial publicity or,
if so, that they were prejudiced by it.             United States v. Tokoph, 514
F.2d 597, 607 (10th Cir. 1975).            Interestingly, in Tokoph, Harris L.
Hartz, now a Tenth Circuit judge, was the Assistant U.S. Attorney who
represented the government.
      Ultimately, 5 jurors were excused by the government and 9 by
defendants.      The opinion of defendant’s current lawyers, who were not
present during jury selection and whose experience in selecting juries
is unknown, that trial counsels’ questions were not “particularly
rigorous or probing” has no persuasive value, especially since out of
the 600 pages of transcript pertaining to voir dire, only four jurors
are identified as being “inadequately” examined.
      Insofar as publicity during trial is concerned, defendant has
completely failed to show that any juror was exposed to media reports.
The court repeatedly and regularly admonished the jurors not to read
or listen to any news coverage as well as not to do any investigation
and   research    regarding      the   case.     Defendant’s       present      lawyers’
complaint that the court did not repeat the full admonition at each
recess has no legal support and trial counsel was not ineffective for

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failing to request a different or more inclusive admonition.              The law
presumes that jurors understand and follow the court’s instructions
and defendant has put forth no evidence that any of the jurors either
did not understand or failed to comply with the court’s admonition.
              Inadequate Cross-Examination of Two Witnesses
     Defendant claims that his counsel failed to “adequately cross-
examine” government witnesses Kevin R. and Lara Laut.                Since both
witnesses were cross-examined by counsel for both defendants, his
complaint is reduced to counsel not asking the questions he now
asserts should have been asked.       The court adopts the government’s
response (Doc. 603 at 20-21).      Most important, here as with all his
other complaints, defendant has completely failed to show how, absent
counsel’s alleged failure, the outcome of the case would have been
different.
                      Unreasonable Defense Strategy
     Defendant complains that his counsel pursued an “unreasonable
defense strategy” in three respects: (1) counsel did not present
expert testimony that defendant’s therapy methods were legitimate; (2)
counsel did not adequately prepare the witness called to rebut the
opinions of Walter Menninger, M.D. and (3) counsel should not have
told the jury to watch all the videotapes.
     Defendant’s first argument is disingenuous because counsel did
attempt to present such testimony through a Dr. Cynthia Steinhauser.
The court held a Daubert hearing outside the jury’s presence and
sustained    the government’s motion in a written Memorandum and Order
(Doc. 308).     Significantly, defendant does not include the court’s
ruling in his laundry list of complaints regarding the performance of

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his appellate counsel.
     Defendant instead asserts that his trial counsel’s performance
was ineffective because counsel knew or should have known that the
government’s Daubert challenge likely would be sustained. He does not
explain how his counsel was supposed to know the government would file
a Daubert motion and/or that the court would grant it.                        If trial
counsel knew or should have known that Dr. Steinhauser would not be
allowed to testify, who is the expert witness defendant’s trial
counsel should have retained who would have been permitted to testify
that defendant’s therapy methods were legitimate? Because defendant’s
present lawyers have not identified such a witness, the court assumes
either they have not looked for one or, if they have, they have not
found one.    Instead, defendant’s current lawyers postulate, with the
benefit of perfect hindsight, that “The better defense would have been
for counsel to argue that whether the videotapes depicted therapy or
not, Kaufman truly believed that he was conducting therapy, thus he
lacked the specific intent required for conviction on all of the
crimes charged.”      Argument, of course, must be based on evidence.
There was little, if any, evidence to support such an argument,
particularly in view of defendant’s own testimony.                  The record cannot
portray   such    things   as   defendant’s      manner       and    attitude    while
testifying, which the jury was entitled to evaluate in addition to his
words.    Defendant’s      testimony   consumes      more     than     500    pages   of
transcript.      The jury was entitled to believe defendant’s testimony
regarding the legitimacy of his methods but it chose not to, perhaps
because actions usually do         speak louder than words.                   There is
absolutely no reason to think that the jury would have accepted

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counsel’s postulated “true belief” argument in view of all the
evidence.
     Defendant’s second argument is somewhat related to his first.
Defendant says his counsel called Dr. George Hough to rebut the
testimony of Dr. Walter Menninger regarding the ability to some of the
Kaufman House residents to consent to defendant’s therapy methods.
Defendant speculates that his counsel did not adequately prepare Dr.
Hough for cross-examination by fully informing him of the details of
defendant’s methods.
     Leaving aside the question of what defendant’s present lawyers
could or would have done to rebut or question the opinions of a
witness having the credentials of Dr. Menninger, the court finds that
defendant has       failed to show that Hough’s testimony, whether on
direct   or   cross,      would   have    changed      the   outcome    of    the    case,
regardless of his preparation.
     Defendant’s final argument is that counsel was ineffective by
encouraging the jury to watch all the videotapes made by defendant,
allegedly     for   the    purpose   of    documenting        his   therapy       methods.
Defendant’s present lawyers, who criticize trial counsel for not
arguing positions not supported by evidence, i.e., defendant’s “true
belief,” reverse course and claim that trial counsel was ineffective
for arguing the positions taken by defendant.                       As the government
points out (Doc. 603 at 11-15), defendant’s defense was that his
methods were legitimate therapy and the tapes would validate his
methods.
     The Tenth Circuit observed in United States v. Rivera, 900 F.2d
1462, 1474 (10th Cir. 1990): “When, as here, the prosecutor has an

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overwhelming case, ‘there is not too much the best defense attorney
can   do.’”    (citations     omitted).         Such    was      the   situation    here.
Defendant’s trial counsel did his best to put on the defense defendant
wanted.      That’s hardly the mark of inadequate representation.
                            The “No Eye Contact” Issue
      Defendant revisits the undersigned’s order that defendants “To
the extent possible, avoid eye contact with the victims . . . .”
(Doc. 268).     Three “victims” testified for the government:                 Nancy J.,
Peter   L.    and   Kevin    R.    The    order     had   no      application      to    the
approximately 22 other government witnesses.                      The order was made
outside the presence of the jury and there is no evidence (and never
has been) that any of the jurors were aware that defendants were not
having “eye contact” with the three victim witnesses or, if any of the
jurors were aware, that they were adversely influenced in any way
against defendant.
      The undersigned had his reasons for making the “no eye contact”
order but he acknowledges that those reasons are irrelevant to the
present issue.      The undersigned also acknowledges the Tenth Circuit’s
extensive discussion regarding his order and will not take issue with
the Circuit’s analysis.           He cannot help but notice, however, that
defendant, who now has the burden of proof, has failed to acknowledge
and deal with the Circuit’s observation that “. . . hypothesized
downward glances during the residents’ testimony [were not sufficient
to] establish a reasonable probability of a different result.”                          (546
F.3d at 1259).       Even if trial counsel should have objected to his
order, there is no basis for this court to conclude that counsel’s
failure to object fell below an objective standard of reasonableness

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or that a different result would have occurred. If the Tenth Circuit,
based on a review of a cold record, could reach a “no different
result” conclusion, defendant has failed to explain why this court
should find, based on his perspective as the trial judge, that
defendant has proved that his trial counsel’s failure to object was
an error of constitutional magnitude which resulted in a complete
miscarriage of justice.
                  The Videotapes and Fed. R. Evid. 403
     Defendant asserts that his trial counsel was ineffective because
he did not object to the videotapes depicting his “therapy” methods
as prejudicial under Fed. R. Evid. 403.         He also makes the gratuitous
suggestion that “The government could simply have had Agent Dan Coney
or Agent Philip McManigal describe the contents of the tapes.”
     The content of the videotapes is described in some detail in the
Circuit’s opinion (546 F.3d at 1248-49) and for some unknown reason
defendant’s present lawyers have devoted several pages of one of their
submissions to a description of the tapes.          There is no question that
the tapes are unpleasant and uncomfortable to watch (except to
defendant).    Indeed, the very nature of the tapes runs contrary to
defendant’s argument that the jury watched them during deliberations.
     Nevertheless, the tapes were evidence, indeed some of the most
probative evidence, of defendant’s crimes, including his criminal
intent, which his new lawyers want to say he didn’t possess.                They
were prejudicial in the same sense that most, if not all, of the
government’s evidence can be considered prejudicial from the viewpoint
of any criminal defendant.         But to run afoul of Rule 403, the
prejudice must be unfair.     Crystal Star Phillips v. Hillcrest Medical

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Center, 244 F.3d 790, 800 (10th Cir. 2001), cert. denied, 535 U.S. 905
(2002).    Defendant cites no case authority to support his argument
that the tapes violated Rule 403, much less that his counsel’s failure
to make a Rule 403 objection or objections amounted to ineffective
assistance.   In this connection, the court wholeheartedly agrees with
the government’s observations regarding the tapes, Doc. 603 at 12-14.
When the tapes are considered as part of the entire case, it is highly
unlikely that this court would have sustained many, if any, Rule 403
objections to any individual tape because their probative value was
not outweighed by their prejudicial effect.
     Perhaps sensing the weakness of his Rule 403 argument, defendant
makes a somewhat unusual suggestion: that the government could have
asked its agents to describe the contents of the tapes, instead of
playing them.    No authority is cited in support of this suggestion.
     The Advisory Committee Notes to the 1972 Proposed Amendments to
Fed. R. Evid. 1002 observe: “Cases in which an offer is made of the
testimony of a witness as to what he saw in a photograph or motion
picture, without producing the same, are most unusual.”                 Indeed, had
the government attempted what defendant’s new lawyers suggest, it is
certainly arguable that the agents’ testimony would have violated Rule
1002. See Freeman v. City of Fort Worth, Texas, 2011 WL 2669111 (N.D.
Tex.) #3 (“Thus because much of Lewis’ testimony seeks to describe the
contents of the Wal-Mart video, it is inadmissible under the best
evidence   rule.”)   In    addition,    the     tapes    contain     statements   of
defendant and the residents.      Surely the agent’s recitation of those
statements would present hearsay problems.                 In short, defendant’s
suggested alternative is unrealistic and unworkable.

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                  The Jury’s Viewing of the Videotapes
     Defendant asserts that his counsel was ineffective because he did
not object when the court provided the jurors with a television and
VCR in order for them to view videotapes played in court and not
played (but all of which were received in evidence).            Defendant seems
to be claiming that the court committed “structural error” and that
his counsel’s failure to object amounted to presumed Strickland
prejudice.   Defendant cites Miller v. Dormire, 310 F.3d 600 (8th Cir.
2002) (counsel’s waiver of his client’s rights to a jury trial without
defendant’s knowledge and understanding was structural error); Owens
v. United States, 483 F.3d 48, 61-66 (1st Cir. 2007) (counsel’s
failure to object to closure of courtroom during jury selection
amounted to structural error because it deprived defendant of his
right to a public trial); Johnson v. Sherry, 586 F.3d 439, 446-447
(6th Cir. 2009), cert. denied, 131 S. Ct. 87 (2010) (counsel’s failure
to object to closure of the trial during testimony of three witnesses
might constitute structural error) and Styers v. Schriro, 547 F.3d
1026, 1030-32(9th Cir. 2008), cert. denied, 130 S. Ct. 379 (2009)
(counsel’s failure to move to strike the jury panel theoretically
could amount to Strickland prejudice but did not under the facts).
Each of these cases is factually distinguishable and none represent
controlling authority.
     Despite being alerted on several occasions, defendant seems
incapable of directly addressing the government’s position that
defendant considered the tapes to be evidence of the legitimacy of his
therapy methods, whether or not they had been played in court, either
during the government’s case or as part of his case.              Defendant also

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asserts that the tapes were “provided to the jury without any
cautionary instruction” but, as he does elsewhere in his submissions
in other contexts, he does not suggest what cautionary instruction
would have been appropriate.
     The court finds defendant has shown neither structural error nor
ineffective assistance.        The tapes were sent to the jury when
defendant was present in the courtroom.         Obviously, defendant was not
entitled to be present in the jury room when the tapes were reviewed
(assuming, for purposes of argument only, that the jurors watched any
of the tapes).      Most important, defendant has failed to show how
counsel’s failure to object resulted in his conviction; in other
words, that he would have been acquitted but for counsel’s failure.
                             Hearsay Testimony
     Defendant complains that his counsel did not object when a
government witness, Detective Walton, testified that Barb T., one of
the Kaufman House residents, told him that she had been punished when
she had spoken with Walton on a previous occasion.
     Defendant also asserts that his trial counsel was ineffective for
failing to object to the testimony of Kevin R., another resident,
regarding encounters between defendant and Barb T.              Kevin testified
that Barb would scream, yell, plead for her life and report that
defendant tried to kill her.      Barb T. did not testify.
     Finally, defendant claims that his counsel should have objected
to the testimony of Leland H., the father of resident Mary, that his
daughter told him that no one from SRS was to be allowed in the house.
     The government responds that the testimony was not hearsay or was
admissible as hearsay exceptions. The court generally agrees with the

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government.     For example, Kevin’s testimony about Barb’s screaming
certainly appears to relate to excited utterances under Fed. R. Evid.
803(2). Defendant asserts that Barb’s statement was “testimonial” and
therefore inadmissible because “A reasonable person in [Barb’s]
position would objectively foresee that the primary purpose of the
statement was to use it in the investigation or prosecution of a
crime” citing United States v. Smalls, 605 F.3d 765 (10th Cir. 2010).
Smalls is a lengthy opinion involving a factual situation totally
unlike the encounter between Barb and Walton.                    The Circuit declined
to “tender a definitive definition of ‘testimonial’” (605 F.3d at
778).    Even if one does not consider why Barb was a resident (e.g.,
because she suffered from schizophrenia or other serious mental
condition), defendant has not cited facts to support a conclusion
about what she could “objectively foresee” and thus whether Walton’s
testimony was inadmissible.             But it is unnecessary to engage in a
detailed discussion of the hearsay rule and its exceptions.                        Even if
trial counsel should have objected, defendant has not shown that
counsel’s    failure    was      “completely      unreasonable”        and,    far       more
important, that had the challenged testimony not been admitted,
defendant would have been acquitted.
                                 Closing Argument
        Defendant claims that his counsel was ineffective because he
failed to object to portions of government counsels’ closing argument.
His   complaints   essentially          fall    in   three       categories:       (1)   the
prosecutor    vouched      for    the   credibility       of      witnesses;       (2)   the
prosecutor called him and his wife “liars” and (3) the prosecutor
misstated the testimony of some of the Kaufman House residents.

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     At the outset, the court notes that with the exception of United
States v. Lopez-Medina, 596 F.3d 716, 740 (10th Cir. 2010) defendant
fails to deal with the Tenth Circuit cases which are contrary to his
position.    As for his improper vouching claim, defendant cites the
following (and only) statement by government counsel:
     As you listen to this argument, I ask you to remember that
     the Government has presented you with multiple witnesses,
     documents and videotapes for every legal proposition we are
     required to prove. Witnesses with no motive other than to
     tell the truth. Documents and videotapes that speak loudly
     for themselves.
(Doc. 477 at 7, Tr. p. 3524). There is no question that this argument
does not amount to improper vouching.         United States v. Franklin-El,
555 F.3d 1115, 1125 (10th Cir. 2009).
     Defendant’s second claim, that prosecutors called him and his
wife “liars,” is patently misleading.             Nowhere in the transcript
citations does the word “liar” appear.          Here follow the excerpts:
          And look at the way the Defendants worked together to
     hide what was really going on at 321 West 7th Street from
     the outside world. They banded together to lie and to give
     misinformation to SRS, the Butler County Sheriff's
     Department, the Department of Health and Human Services,
     Blue Cross & Blue Shield, the Newton police, doctors; and
     most shamefully, the parents of their so-called patients.
(Doc. 477 at 12, Tr. p. 3529).
     While Defendant Kaufman will no doubt tell you yet again
     that he really believed that he was helping Mary and
     Barbara by giving them, as he called it, the rare privilege
     to be nude and masturbate in front of a video camera, the
     Defendants' web of secrets and lies tells you otherwise.
(Doc. 477 at 25, Tr. p. 3542).
     And the web of lies went far beyond SRS. When those Butler
     County Sheriff's Officers were called out to the Potwin
     farm on November 8 of 1999, why didn't Arlan Kaufman just
     tell the officers about his innovative family therapy
     program that includes masturbation, genital shaving and
     videotaping?

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(Doc. 477 at 26, Tr. p. 3543).
     He and Linda Kaufman chose instead for over 20 years to lie
     under oath in 1992, to the police in 1999, to Dan Coney in
     2001, and to the parents of their patients for years.
(Doc. 477 at 43, Tr. p. 3560).
     So, contrary to what Mr. Joseph told you, she did lie; she
     did cheat; she did steal from Medicare and the families and
     the residents.
                                * * *
     You can believe the evidence presented to you by the
     uncontrovertible videotapes, the documents, the experts,
     the victim witnesses who corroborated each other; or you
     can believe the Defendants who have hidden the truth and
     whose lies were repeatedly highlighted during the trial.
     You can believe the victims or you can believe the one
     person in this courtroom who had every incentive to lie to
     you and who played word games with you throughout his
     testimony.
(Doc. 477 at 122, Tr. p. 3639).
     Counsel’s argument was fair comment based on the evidence.
Counsel did not call defendants “liars” but even if she had, the court
would have overruled any objection to the word.             (Perhaps defendant’s
delicate sensibilities would be salved if the prosecutor had used the
word “fib” instead of “lie.”) The evidence clearly showed that
defendants lied and did so repeatedly.
     Defendant’s final argument is similarly unpersuasive. The court
instructed the jury, without objection, that arguments of counsel are
not evidence.     Such an instruction may minimize the impact of any
error made by misstating the evidence in closing argument and failure
to object does not establish prejudice.           Bledsoe v. Bruce, 569 F.3d
1223, 1239 (10th Cir. 2009), cert. denied, 130 S. Ct. 808 (2009).
Assuming misstatements were made, there is nothing to indicate they
were made deliberately for the purpose of misleading he jurors.              More
important, if there were misstatements, they related to but a fraction

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of the evidence. It is inconceivable that the jury ignored all of the
overwhelming    evidence   of    defendant’s      guilt       and   returned   guilty
verdicts on charges concerning which the resident’s testimony had no
relevance.
     In conclusion, defendant has completely failed to show that his
counsel’s failure to object during closing argument meets either prong
of the Strickland standard.
                                Appellate Issues
     Defendant claims that his appellate counsel was ineffective for
failing to appeal (1) Senior Judge Sam Crow’s order disqualifying
defendant’s initial counsel; (2) orders denying motions to suppress
evidence; (3) victims’ lawyer Kirk Lowry’s “interference” with defense
counsels’ attempts to interview residents; (4) insufficiency of
evidence on certain counts and (5) sentences not authorized by
statute.     (Defendant claims trial counsel also was ineffective on
claims (4) and (5)).
     At the outset, the court notes that defendant’s current lawyers
have not mentioned the standards applicable to claims of ineffective
appellate counsel, supra, and therefore have made no effort to
demonstrate how their claims meet those standards. For these reasons,
the court has considered simply denying the claims out of hand.
Nevertheless,    notwithstanding       defendant’s        lawyers’      unexplained
failure, the court will comment briefly on the claims.
                            Judge Crow’s Ruling
     Defendant contends in conclusory fashion that Judge Crow’s order
disqualifying his original counsel violated his Sixth Amendment right
to counsel but he does not cite any portion of the order, offer any

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explanation regarding why the order was either factually or legally
erroneous or, most important, why an appeal from the order would have
been a “dead-bang winner,” perhaps because his current lawyers are
ignorant of that requirement.
                             Motions to Suppress
     Defendant’s claims regarding the rulings on the motions to
suppress are contained in a single paragraph of eight lines of text.
No explanation is offered as to why the rulings were erroneous, no
authority is cited and no argument is advanced that an appeal from
either or both rulings would have a “dead-bang winner.”
                            The Kirk Lowry Issue
     Kirk Lowry, a private attorney, was appointed as guardian ad
litem for some of the Kaufman House residents/victims.              When defense
counsel wanted to interview some of the residents, Lowry declined the
request as their guardian.      The matter was heard and ruled on by U.S.
Magistrate Judge Donald W. Bostwick and no appeal was taken to this
court from his rulings.       Defendant asserts that because of events
which later occurred during trial, Lowry’s “. . . actions suggest an
allegiance with the government. Appellate counsel should have pursued
this issue on appeal.”
     What issue, had appellate counsel “pursued” it, would have been
a “dead-bang winner”?      Defendant doesn’t say.
                           Sufficiency of Evidence
     When a defendant appeals a jury verdict challenging sufficiency
of the evidence, the universal standard is that the Court of Appeals
reviews all the evidence, as well as reasonable inferences therefrom
in the light most favorable to the verdict and will find evidence

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insufficient only if no reasonable jury could have found the defendant
guilty beyond a reasonable doubt.         United States v. Lovern, 590 F.3d
1095, 1104 (10th Cir. 2009).        The Court of Appeals does not weigh
conflicting evidence, resolves all possible conflicts of the evidence
in the light most favorable to the government and assumes the jury
found the evidence credible. United States v. Doddles, 539 F.3d 1291,
1293-94 (10th Cir. 2008).       The same standards apply to motions for
judgment of acquittal.
     Defendant has not analyzed his sufficiency of evidence claims in
accordance with these standards, nor has he offered any explanation
how an appeal based on insufficiency of evidence would have been a
“dead-bang winner.”
                       Sentences on Counts 4 and 5
     The government concedes that the 20 year sentences imposed on
counts 4 and 5 were erroneous and should have been 5 years each. Even
though neither his trial or appellate counsel caught the error– which,
in truth, was this court’s fault– defendant has not and cannot show
prejudice because the sentences run concurrently.             Even if the court
should correct the judgment and commitment to reflect the correct
sentences on counts 4 and 5, defendant’s controlling sentence would
not be reduced.
                      Defendant’s Pro Se Submission
     Defendant has submitted what he styles as a Motion to Amend (Doc.
609).   The submission was filed on February 14, 2011 and clearly is
out of time.    28 U.S.C. § 2255(f).       Defendant’s apparent purpose in
filing the submission was to circumvent this court’s ruling striking
his lawyers’ initial § 2255 motion (Doc. 591) because it violated the

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court’s page-limit order (Doc. 599).             The court now has given full
consideration to the claims made in Doc. 591, as well as every other
submission by defendant’s new lawyers.
     Even if the submission had been timely filed, the court would not
consider it.    As the government points out, Doc. 610 at 3, defendant
has no right to “hybrid” representation.              Moreover, by seeking to
pursue an additional 26 claims of ineffective assistance (many of
which would not be cognizable under § 2255, even if liberally
construed), defendant essentially is accusing his current lawyers of
ineffectively    presenting    his   §    2255   motion.      None    of     this   is
appropriate either under § 2255 or the Rules of Procedure.
                            Evidentiary Hearing
     Defendant suggests throughout his submissions that he will prove
his claims by the testimony of his trial and appellate counsel.                     He
does not proffer what their testimony will or even might be.                   He has
attached no affidavits.
     Rule 8 of the Rules Governing § 2255 Proceedings applies to
evidentiary hearings. Conclusory and general allegations made as part
of a request for an evidentiary hearing are insufficient.                    Hooks v.
Workman, supra, 606 F.3d at 730-31 (10th Cir. 2010). No hearing is
required if the files and records conclusively show the defendant is
not entitled to relief.
     Such is the case here.       Each of defendant’s claims is that his
counsel failed to do something.            It is unclear how testimony by
counsel regarding his failure to do something would be relevant or
helpful to defendant.
     Accordingly, defendant’s request for an evidentiary hearing is

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denied.
                                 Conclusion
     The court has given full consideration to defendant’s claims and
finds that the files and records clearly and conclusively show that
he is entitled to no relief.        Contrary to defendant’s claims, the
record demonstrates that he received extraordinary representation by
his trial and appellate counsel.            His treatment by the courts,
including his sentence which many rightly would consider lenient, not
only has been entirely consistent with his rights, but far better than
the “treatment” he provided to the emotionally-damaged individuals
entrusted to his and his wife’s care.
     A motion for reconsideration of this order is not encouraged.
Any such motion shall not exceed three pages and shall strictly comply
with the standards enunciated by this court in Comeau v. Rupp, 810 F.
Supp. 1172 (D. Kan. 1992).
     The response to any motion for reconsideration shall not exceed
three pages.    No reply shall be filed.
     IT IS SO ORDERED.
     Dated this     1st     day of August 2011, at Wichita, Kansas.


                                          s/ Monti Belot
                                          Monti L. Belot
                                          UNITED STATES DISTRICT JUDGE




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